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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
                                                      § CASE NUMBER 6:16-CR-0039-RC
 v.                                                   §
                                                      §
                                                      §
 SHARJEEL ALI (4)                                     §
                                                      §

          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and issued her Findings of Fact and Recommendation on Guilty

 Plea Before the United States Magistrate Judge. The magistrate judge recommended that the court

 accept the Defendant’s guilty plea. She further recommended that the court adjudge the Defendant

 guilty on Counts One, Two and Six of the Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

 (ECF 104) is ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the

 plea agreement until after review of the presentence report. The court ORDERS the Defendant’s

 attorney to read and discuss the presentence report with the Defendant, and file any objections to

 the report BEFORE the date of the sentencing hearing.




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        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Sharjeel Ali, is adjudged guilty

 as to Counts One, Two and Six of the Indictment charging violations of 21 U.S.C. § 846 and 18

 U.S.C. § 1957 – Conspiracy to Distribute and Possess with Intent to Distribute Schedule I

 Controlled Substances, Conspiracy to Distribute and Possess with Intent to Distribute Controlled

 Substance Analogues, and Engaging in Monetary Transactions in Property Derived from Specified

 Unlawful Activity.

              So ORDERED and SIGNED this 24 day of June, 2017.




                                                            ___________________________________
                                                            Ron Clark, United States District Judge




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